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              Exhibit B
             Case: 2:18-cv-00478-GCS-EPD Doc #: 1-2 Filed: 05/15/18 Page: 2 of 3 PAGEID #: 17
Laytime Statement



Vessel:         KN Forest                                                          Voyage: 2205012        CP FORM:
Charterer:      PHOENIX GLOBAL DMCC, DUBAI                                         C/P Date: 11.09.2017

Port: KAVKAZ
Loading 55822.985 MT of Wheat
LayCan:
Terms:             8000 1700FRI / 0800MON                Laytime Allowed: 6.97787 (6d 23h 28m )
Demurrage:         USD 16,000.00                         Despatch: USD 8,000.00
Laytime Commenced: 21.09.2017 10:00                      Laytime Completed: 18.10.2017 23:00

Statement of Facts
Event                                                                 Time
Laytime Commenced                                               21.09.2017 10:00
Laytime Completed                                               18.10.2017 23:00

Activities
Date                       From                  Until           %    Activity                                Time Used       Accumulated
Thu 21 Sep 17        21 Sep 10:00          22 Sep 17:00         100   Time counting                            1d 07h 00m         1d 07h 00m

Fri 22 Sep 17        22 Sep 17:00          25 Sep 08:00           0   Loading term                             0d 00h 00m         1d 07h 00m

Mon 25 Sep 17        25 Sep 08:00          29 Sep 17:00         100   Time counting                            4d 09h 00m         5d 16h 00m

Fri 29 Sep 17        29 Sep 17:00          02 Oct 08:00           0   Loading term                             0d 00h 00m         5d 16h 00m

Mon 02 Oct 17        02 Oct 08:00          18 Oct 23:00         100   Time counting                           16d 15h 00m        22d 07h 00m

Tue 03 Oct 17        03 Oct 15:28                                     Vessel on Demurrage

                                                                                                                               22d 07h 00m

Port Summary
Laytime Allowed                        6.97787               6d 23h 28m
Laytime Used                          22.29167              22d 07h 00m
Time Saved/Lost                      -15.31380            - 15d 07h 32m




Laytime Summary
Laytime allowed                      6d 23h 28m          (6.97787 days)
Laytime Used                        22d 07h 00m          (22.29167 days)

Demurrage:                          15d 07h 32m          (15.31380 days)     @ USD 16000/day                                USD 245,020.80




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Laytime Statement



Vessel:         KN Forest                                                             Voyage: 2205012        CP FORM:
Charterer:      PHOENIX GLOBAL DMCC, DUBAI                                            C/P Date: 11.09.2017

Port: CHITTAGONG
Discharging 55822.985 MT of Wheat
Terms:             3000 SATPMMONSHEX                        Laytime Allowed: 18.60766 (18d 14h 35m )
Demurrage:         USD 16,000.00                            Despatch: USD 8,000.00
Laytime Commenced: 17.11.2017 10:00                         Laytime Completed: 05.02.2018 22:30

Statement of Facts
Event                                                                    Time
Laytime Commenced                                                  17.11.2017 10:00
Laytime Completed                                                  05.02.2018 22:30

Activities
Date                           From                 Until           %    Activity                                Time Used       Accumulated
Fri 17 Nov 17         17 Nov 10:00            18 Nov 08:00           0   discharging term                         0d 00h 00m         0d 00h 00m

Sat 18 Nov 17         18 Nov 08:00            23 Nov 12:00         100   Time counting                            5d 04h 00m         5d 04h 00m

Thu 23 Nov 17         23 Nov 12:00            25 Nov 08:00           0   discharging term                         0d 00h 00m         5d 04h 00m

Sat 25 Nov 17         25 Nov 08:00            30 Nov 12:00         100   Time counting                            5d 04h 00m        10d 08h 00m

Thu 30 Nov 17         30 Nov 12:00            02 Dec 08:00           0   discharging term                         0d 00h 00m        10d 08h 00m

Sat 02 Dec 17         02 Dec 08:00            07 Dec 10:00         100   Time counting                            5d 02h 00m        15d 10h 00m

Thu 07 Dec 17         07 Dec 10:00            07 Dec 12:00           0   Weather                                  0d 00h 00m        15d 10h 00m
                      07 Dec 12:00            09 Dec 08:00           0   discharging term                         0d 00h 00m        15d 10h 00m

Sat 09 Dec 17         09 Dec   08:00          09 Dec   08:25         0   Weather                                  0d 00h 00m        15d 10h 00m
                      09 Dec   08:25          09 Dec   09:00       100   Time counting                            0d 00h 35m        15d 10h 35m
                      09 Dec   09:00          09 Dec   09:20         0   rain                                     0d 00h 00m        15d 10h 35m
                      09 Dec   09:20          09 Dec   12:00       100   Time counting                            0d 02h 40m        15d 13h 15m
                      09 Dec   12:00          09 Dec   12:45         0   rain                                     0d 00h 00m        15d 13h 15m
                      09 Dec   12:45          09 Dec   21:20       100   Time counting                            0d 08h 35m        15d 21h 50m
                      09 Dec   21:20          09 Dec   22:50         0   rain                                     0d 00h 00m        15d 21h 50m
                      09 Dec   22:50          14 Dec   08:24       100   Time counting                            4d 09h 34m        20d 07h 24m

Tue 12 Dec 17         12 Dec 15:35                                       Vessel on Demurrage

Thu 14 Dec 17         14 Dec 08:24            14 Dec 12:48           0   shift                                    0d 00h 00m        20d 07h 24m
                      14 Dec 12:48            05 Feb 22:30         100   Time counting                           53d 09h 42m        73d 17h 06m
                                                                                                                                  73d 17h 06m

Port Summary
Laytime Allowed                          18.60766              18d 14h 35m
Laytime Used                             73.71251              73d 17h 06m
Time Saved/Lost                         -55.10485            - 55d 02h 31m




Laytime Summary
Laytime Allowed                        18d 14h 35m          (18.60766 days)
Laytime Used                           73d 17h 06m          (73.71251 days)

Demurrage:                             55d 02h 31m          (55.10485 days)     @ USD 16000/day                                USD 881,677.60




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